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EXHIBIT LIST
Exhibit-1 Greenfield: Motion/Timeline of Events/Medical History
ATTACHMENT
PRO SE CERTIFICATION
Case 1:20-cv-02143-GLR Document 1-1 Filed 07/17/20 Page 2 of 83

LAW OFFICES

GREENFIELD & KRAUT
6315 BEACON STREET
PITTSBURGH, PENNSYLVANIA 15217-1801
TELEPHONE (412) 261-4466

‘STANLEY W. GREENFIELD FAX: (412} 261-4408
GAYLE R. KRAUT EMAIL: GREENFIELDANDKRAUT
4A @VERIZON.NET
March 23, 2020
LEGAL MAIL

Mr. Simon Tusha
FED. ID 04182-015.
Federal Correctional Institute
P.O. Box 1000
Cresson, PA 16630
Simon:
Enclosed is a. packet of legal documents for you review. This packet includes:
1) Criminal Docket
2) Motion for Modification of Sentence
3) Medical documents
4) Proposed Court Order
5) Government’s Motion for Extension of Time and Court Order
6) Government’s Unopposed Motion for Continuance and Court Order

7) Telephonic Status Conference sheet

8) Government’s Notice to the Court re: Defendant's Status

 

SWG/imw

Enclosures
»20-CV- - nt 1-1 Filed 07/17/20 Page 3 of 83
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Page 1 of 11

BOND,CLOSED

U.S. District Court
Western District of Pennsylvania (Pittsburgh)
CRIMINAL DOCKET FOR CASE #: 2:16-cr-00055-DWA-1
Internal Use Only

Case title: USA v. TUSHA

Date Filed: 03/18/2016
Date Terminated: 01/10/2019

 

Assigned to: Judge Donetta W.
Ambrose

Defendant (1)

SIMON T. TUSHA represented by
USMS 04182015
TERMINATED. 01/10/2019

Bruce Bettigole

Sutherland Asbill & Brennan LLP

700 Sixth Street, N.W.

Suite 700

Washington, DC 20001

202-383-0165

Email: bruce. bettigole@sutherland.com

TERMINATED, 09/27/2016
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

Stanley W. Greenfield

Greenfield and Kraut

6315 Beacon Street

Pittsburgh, PA 15217

(412) 261-4466

Email: greenfieldandkraut@verizon.net
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Chaya Kundra

110 N. Washington St., Suite 406
Rockville, MD 20850
301-424-7585

Email: ckundra@kundrataxlaw.com
TERMINATED: 10/26/2016

PRO HAC VICE

ATTORNEY TO BE NOTICED
Designation: Reigined

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Pending Counts

18:371 CONSPIRACY TO DEFRAUD
THE UNITED STATES

(1)

Highest Offense Level (Opening)
Felony

Terminated Counts
None

Highest Offense Level (Terminated)
None

Complaints
None

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Disposition

Defendant is sentenced to a total term
of imprisonment of 21 months, not to
commence prior to 4/1/2019. Upon
release from imprisonment, Defendant
shall be on supervised release for a term
of 3 years with standard and additional
conditions. There is a special
assessment of $100.00. Fine waived.

Disposition

Disposition

 

Plaintiff
USA

represented by James R. Wilson

United States Attorney's Office
700 Grant Street

Suite 4000

Pittsburgh, PA 15219

(412) 894-7453

Email: james.wilson2@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: US Govt Aity

Shaun E. Sweeney
United States Attorney's Office
700 Grant Street

Suite 4000

Pittsburgh, PA 15219

(412) 894-7425

Fax: (412) 894-7311

Email: shaun.sweeney@usdoj.gov
TERMINATED: 05/03/2019
ATTORNEY TO BE NOTICED
Designation: US Govt Atty

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*20-Cv-02143-GLR Document 1-1 Filed 07/17/20 Page 5 of 83

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Date Filed

Docket Text

 

03/18/2016

{—

INFORMATION as to SIMON T. TUSHA (1) count(s) 1.
(Attachments: # | Waiver of an Indictment, # 2 Arraignment Plea, #
3 Criminal Case Info Sheet) (plh) (Entered: 03/18/2016)

 

03/18/2016

Ira

INFORMATION Memorandum as to SIMON T. TUSHA. (plh)
(Entered: 03/18/2016)

 

03/31/2016

TEXT NOTICE OF HEARING as to SIMON T. TUSHA. Waiver
and Plea Hearing set for 5/20/2016 at 10:00 AM in Courtroom 6C
before Judge Terrence F. McVerry. Text-only entry. No PDF
document will issue. This text-only entry constitutes the Order of the
Court or Notice on the matter. (kly) (Entered: 03/31/2016)

 

05/12/2016

(ur

First MOTION for Leave to Appear Pro Hac Vice Attorney: Bruce
Bettigole (Filing fee $40, receipt number 031 5-3956941) by SIMON
T. TUSHA. (Attachments: # 1 Supplement Bruce Bettigole D.C. Bar
Certificate of Good Standing) (Bettigole, Bruce) (Entered:
05/12/2016)

 

05/12/2016

jon

First MOTION to Continue Waiver and Plea Hearing until
5/20/2016 by SIMON T. TUSHA. (Bettigole, Bruce) (Entered:
05/12/2016)

 

05/12/2016

TEXT ORDER granting 5 Motion for Leave to Appear Pro Hac
Vice as to SIMON T. TUSHA (1). Signed by Judge Terrence F.
MeVerry on 5/12/2016. Text-only entry; no PDF will issue. This
Text-only entry constitutes the Order of the Court or Notice on the
matter. (kly) (Entered: 05/12/2016)

 

05/12/2016

TEXT ORDER granting 6 Motion to Continue as to SIMON T.
TUSHA (1). Waiver and Plea Hearing set for 5/20/2016 at 01:00 PM
in Courtroom 6C before Judge Terrence F. McVerry. TIME
CHANGE ONLY. Signed by Judge Terrence F. McVerry on
9/12/2016. Text-only entry; no PDF will issue. This Text-only entry
constitutes the Order of the Court or Notice on the matter. (kly)
(Entered: 05/12/2016)

 

05/12/2016

CLERK'S OFFICE QUALITY CONTROL MESSAGE re 5 First
MOTION for Leave to Appear Pro Hac Vice Attorney: Bruce
Bettigole (Filing fee $40, receipt number 0315-3956941)}. ERROR:
Proposed Order was made part of main document. CORRECTION:
Attorney advised that in future proposed orders are to be made
attachments to the main document. This message is for
informational purposes only. (plh) (Entered: 05/13/2016)

 

03/18/2016

INS

MOTION for Leave to Appear Pro Hae Vice Attorney: Chaya
Kundra (Filing fee $40, receipt number 0315-3964115) by SIMON
T. TUSHA. (Attachments: # 1 Affidavit, #2 Proposed Order, #3
Supplement Certificate of Good Standing) (Kundra, Chaya)
(Entered: 05/18/2016)

 

 

 

 

 

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05/18/2016

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Supplement filed by SIMON T. TUSHA (Attachments: # 1 Chain of
Custody Log) (Xundra, Chaya) Modified on 5/19/2016. (pih) This
document removed from public view and redocketed at Doc. # 12
(Entered: 05/18/2016)

 

05/18/2016

CLERK'S OFFICE QUALITY CONTROL MESSAGE re 10
Supplement. ERROR: Wrong event selected. CORRECTION: Re-
docketed as Notice. This message is for informational purposes only.
(plh) (Entered: 05/19/2016)

 

05/18/2016

NOTICE of a Declaration regarding The Chain of Custody of
Defendant's Passport by SIMON T. TUSHA (Attachments: # 1
Chain of Custody Log) (plh) (Entered: 05/19/2016)

 

05/19/2016

11

TEXT ORDER granting 9 Motion for Leave to Appear Pro Hac
Vice as to SIMON T. TUSHA (1). Signed by Judge Terrence F.
MeVerry on 5/19/2016. Text-only entry; no PDF will issue. This
Text-only entry constitutes the Order of the Court or Notice on the
matter. (kly) (Entered: 05/19/2016)

 

05/20/2016

TEXT Minute Entry for proceedings held before Judge Terrence F.
McVerry: Waiver & Plea Hearing as to SIMON T. TUSHA held on
5/20/2016. Defendant Sworn. Defendant waives prosecution by
Indictment. Defendant pleads guilty as to Count One of the Criminal
Information, PSI Ordered. Sentencing set for 9/16/2016 at 1:00PM.
(Court Reporter: Virginia Pease) Text-only entry; no PDF document
will issue. This text-only entry constitutes a Minute of the Court or
Notice on the matter. (kly} (Entered: 05/20/2016)

 

05/20/2016

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WAIVER OF INDICTMENT by SIMON T. TUSHA. (kly)
(Entered: 05/20/2016)

 

05/20/2016

GUILTY PLEA ENTERED on Counts One as to SIMON T.
TUSHA. (kly) (Entered: 05/20/2016)

 

05/20/2016

ORDER Setting Conditions of Release as to SIMON T. TUSHA (1)
$10,000 unsecured bond. Signed by Judge Terrence F. McVerry on
3/20/2016, (Attachments: # 1 Exhibit Conditions of Release) (kly)
(Entered: 05/20/2016)

 

05/20/2016

16

TEXT NOTICE OF HEARING as to SIMON T. TUSHA.
Sentencing set for 9/16/2016 at 01:00 PM in Courtroom 6C before
Judge Terrence F, McVerry. Any memorandum or brief in aid of
sentence shall be filed on or before no less than one (1) week in
advance of the date of sentencing.Text-only entry. No PDF
document will issue, This text-only entry constitutes the Order of the
Court or Notice on the matter, (kly) (Entered: 05/20/2016)

 

05/20/2016

Special Assessment Paid by SIMON T. TUSHA $100.00, receipt
number 24668038083 (plh) (Entered: 05/20/2016)

 

07/15/2016

 

 

 

MOTION to Postpone and/or Reschedule Sentencing by SIMON T.
TUSHA. (Attachments: # | Proposed Order) (Bettigole, Bruce)

 

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(Entered: 07/15/2016)

07/19/2016 19 |] ORDER granting 18 Motion to Postpone and/or Reschedule as to
SIMON T. TUSHA (1). Sentencing originally scheduled for
9/16/2016 is re-set for 1/17/2017 at 09:30 AM in Courtroom 6C
before Judge Terrence F. MeVerry. Signed by Judge Terrence F.
MeVerry on 7/19/2016. (t)w) (Entered: 07/19/2016)

09/23/2016 20 | MOTION to Withdraw as Attorney by Bruce Bettigole on behalf of
Defendant. (Attachments: # | Proposed Order) (Bettigole, Bruce)
(Entered: 09/23/2016)

09/26/2016 si 21 } First MOTION to Amend/Correct 20 MOTION to Withdraw as
Attorney by Bruce Bettigole on behalf of Defendant filed by
SIMON T. TUSHA by SIMON T. TUSHA. (Bettigole, Bruce)
Modified on 9/27/2016. (plh) This document removed from public
view and redocketed at Doc. # 22 . (Entered: 09/26/2016)

09/26/2016 CLERK'S OFFICE QUALITY CONTROL MESSAGE re 2] First
MOTION to Amend/Correct 20 MOTION to Withdraw as Attorney
by Bruce Bettigole on behalf of Defendant, filed by SIMON T.
TUSHA. ERROR: Wrong event selected. CORRECTION: Re-
docketed as Errata, This message is for informational purposes only.
(plh) (Entered: 09/27/2016)

09/26/2016 22, | Errata re 20 MOTION to Withdraw as Attorney by Bruce Bettigole
on behalf of Defendant, by SIMON T. TUSHA. Reason for
correction: signature of Mr. Tusha. (plh) (Entered: 09/27/2016)

09/27/2016 ie 23 | ORDER granting 20 Motion to Withdraw as Attorney. Bruce
Bettigole withdrawn from case as to SIMON T. TUSHA (1). Signed
by Judge Terrence F. McVerry on 9/27/2016. (rjw) Modified on
9/28/2016. (plh) This document removed from public view SEE
ERRATA at Doc. # 24 for corrections. (Entered: 09/27/2016)

 

 

 

 

 

 

 

 

09/27/2016 24 | Errata re 23 Order on Motion to Withdraw as Attorney by SIMON
T. TUSHA. Reason for correction: original document did not
contain the date or the Judge's signature. (rjw) (Entered: 09/27/2016)

10/03/2016 25 | MOTION to Withdraw Appearance as Counsel by SIMON T.

TUSHA. (Attachments: # 1 Proposed Order, # 2 Certificate of
Service) (Kundra, Chaya) (Entered: 10/03/2016)

10/04/2016 26 | ORDER as to SIMON T. TUSHA directing the clerk of court to
randomly reassign this case to another Judge. Signed by Chief Judge
Joy Flowers Conti on 10/4/16. Text-only entry; no PDF document
will issue. This text-only entry constitutes the Order of the Court or
Notice on the matter. (mh) (Entered: 10/04/2016)

10/04/2016 Judge update in case as to SIMON T. TUSHA. Judge Donetta W.
Ambrose added. Judge Terrence F. McVerry no longer assigned to
case. (gmp) (Entered: 10/04/2016)

ORDER denying 25 Motion to Withdraw as to SIMON T. TUSHA

 

 

 

10/05/2016

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(1) without prejudice. If new counsel is obtained, the motion will be
reconsidered. Signed by Judge Donetta W. Ambrose on 10/5/16.
(slh) (Entered: 10/05/2016)

 

10/05/2016

28

ORDER as to SIMON T. TUSHA: The Sentencing previously set
for 1/17/17 is rescheduled for 1/9/2017 at 12:00 PM in Courtroom
3B before Judge Donetta W. Ambrose. Signed by Judge Donetta W.
Ambrose on 10/5/16. Text-only entry; no PDF document will issue.
This text-only entry constitutes the Order of the Court or Notice on
the matter. (slh) (Entered: 10/05/2016)

 

10/14/2016

8

NOTICE OF ATTORNEY APPEARANCE: Stanley W. Greenfield
appearing for SIMON T, TUSHA (Greenfield, Stanley) (Entered:
10/14/2016)

 

10/25/2016

Is

MOTION to Withdraw as Attorney by Chaya Kundra on behalf of
Simon T. Tusha. (Attachments: # | Proposed Order, # 2 Certificate
of Service) (Kundra, Chaya) (Entered: 10/25/2016) -

 

10/26/2016

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ORDER granting 30 Motion to Withdraw as Attorney. Chaya
Kundra withdrawn from case as to SIMON T. TUSHA (1). Signed
by Judge Donetta W. Ambrose on 10/26/16. (sth) (Entered:
10/26/2016)

 

11/30/2016

had
had

MOTION for Leave to File Documents Under Seal by USA as to
SIMON T. TUSHA. (Attachments: # 1 Proposed Order) (Hull, Paul)
(Entered: 11/30/2016)

 

12/01/2016

ORDER as to SIMON T. TUSHA (1) granting 33 MOTION for
Leave to File Documents Under Seal. After receiving notice of the
order of court, you must provide the sealed document to the
Clerk of Courts both on paper and on disk, in pdf format. In the
alternative, you may contact the Intake Section and make
arrangements to email the pdf to the Clerk of Courts. The
Government shall net be required to file a redacted version of
the document. You would be required to serve the sealed
document on counsel using traditional service methods. Decision
to Unseal Document deferred. Signed by Judge Donetta W.
Ambrose on 12/1/16. (ask) (Entered: 12/01/2016)

 

12/01/2016

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SEALED MOTION (This document Sealed pursuant to 34 Order on
Motion for Leave to File Documents Under Seal), by USA as to
SIMON T. TOSHA. (Attachments: # 1 Proposed Order, # 2 Exhibit
1, # 3 Exhibit 2, # 4 Exhibit 3) (plh) (Entered: 12/01/2016)

 

12/01/2016

Is

SEALED ORDER re: Docket No. 35 . Signed by Judge Donetta W.
Ambrose on 12/1/16. (ask) (Entered: 12/01/2016)

 

12/13/2016

I36

*SEALED* ***FOR JUDGES EYES ONLY***
RECOMMENDATION as to SIMON T.. TUSHA submitted to the
Court. (anwP) (Entered: 12/13/2016)

 

12/30/2016

 

 

IS

 

MOTION to Continuc Sentencing by SIMON T. TUSHA.

 

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(Attachments: # 1 Proposed Order) (Greenfield, Stanley) (Entered:
12/30/2016)

 

01/03/2017

ORDER granting 39 Motion to Continue as to SIMON T. TUSHA
(1). The sentencing previously scheduled for January 9, 2017 is now
rescheduled for 4/12/2017 at 10:00 AM in Courtroom 3B before
Judge Donetta W. Ambrose. Signed by Judge Donetta W. Ambrose
on 1/3/17. (cha) (Entered: 01/03/2017)

 

03/13/2017

MOTION to Continue Sentencing by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order) (Greenfield, Stanley) (Entered:
03/13/2017)

 

03/14/2017

ORDER granting 41 Motion to Continue as to SIMON T. TUSHA
(1). Sentencing previously set for 4/12/17 is rescheduled for
7/11/2017 at 10:00 AM in Courtroom 3B before Judge Donetta W.
Ambrose. Signed by Judge Donetta W. Ambrose on 3/14/17. (slh)
(Entered: 03/14/2017)

 

05/3 1/2017

ORDER as to SIMON T. TUSHA: The Sentencing set for 7/11/2017
will now begin at 12:00 PM, instead of 10:00, in Courtroom 3B
before Judge Donetta W. Ambrose. Signed by Judge Donetta W.
Ambrose on 5/31/17. Text-only entry; no PDF document will issue.
This text-only entry constitutes the Order of the Court or Notice on
the matter. (slh) (Entered: 05/31/2017)

 

06/06/2017

MOTION to Continue Sentencing by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order (Greenfield, Stanley) (Entered:
06/06/2017)

 

06/07/2017

ORDER granting 44 Motion to Continue as to SIMON T. TUSHA
(1). Sentencing is reset for 10/10/2017 at 12:00 PM in Courtroom
3B before Judge Donetta W. Ambrose. Signed by Judge Donetta W.
Ambrose on 6/7/17. (slh) (Entered: 06/07/2017)

 

08/29/2017

46

ORDER as to SIMON T. TUSHA: The time for the Sentencing set
for 10/10/2017 has changed from 12:00 PM to 10:30 AM that same
day (10/10/17) in Courtroom 3B before Judge Donetta W. Ambrose.
Signed by Judge Donetta W. Ambrose on 8/29/17. Text-only entry;
no PDF document will issue. This text-only entry constitutes the
Order of the Court or Notice on the matter. (slh) (Entered:
08/29/2017)

 

09/06/2017

MOTION to Continue Sentencing Date by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order) (Greenfield, Stanley) (Entered:
09/06/2017)

 

09/07/2017

ORDER granting 47 Motion to Continue as to SIMON T. TUSHA
(1). Sentencing previously set for 10/10/17 now set for 1/10/2018
19:00 AM in Courtroom 3B before Judge Donetta W. Ambrose.
Signed by Judge Donetta W. Ambrose on 9/7/17. (ask) (Entered:
09/07/2017)

 

 

 

 

 

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01/08/2018

49

MOTION to Continue Sentencing Date by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order} (Greenfield, Stanley) (Entered:
01/08/2018)

 

01/09/2018

ORDER granting 49 Motion to Continue as to SIMON T. TUSHA
(1): The Sentencing Hearing set for 1/10/2018 is rescheduled for
4/10/2018 at 10:00 AM in Courtroom 3B before Judge Donetta W.
Ambrose. Signed by Judge Donetta W. Ambrose on 1/9/18. (sps)
(Entered: 01/09/2018)

 

03/29/2018

51

ORDER as to SIMON T. TUSHA: The Sentencing scheduled for
4/10/18 at 10:00 will be conducted in Courtroom 3A. Signed by
Judge Donetta W. Ambrose on 3/29/18. Text-only entry; no PDF
document will issue. This text-only entry constitutes the Order of the
Court or Notice on the matter, (slh) (Entered: 03/29/2018)

 

04/04/2018

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MOTION to Continue Sentencing Date by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order) (Greenfield, Stanley) (Entered:
04/04/2018)

 

04/05/2018

33

ORDER granting 52 Motion to Continue as to SIMON T. TUSHA
(1) Sentencing previously set for 4/10/18 now set for 7/9/2018 10:00
AM in Courtroom 3B before Judge Donetta W, Ambrose. Signed by
Judge Donetta W. Ambrose on 4/5/18. Text-only entry; no PDF will
issue. This Text-only entry constitutes the Order of the Court or
Notice on the matter. (ask) (Entered: 04/05/2018)

 

06/27/2018

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seventh MOTION to Continue Sentencing Date by SIMON T.
TUSHA. (Attachinents: # lL Proposed Order) (Greenfield, Stanley)
(Entered: 06/27/2018)

 

06/28/2018

ORDER granting 54 Motion to Continue as to SIMON T. TUSHA
(1). Sentencing previously set for set for 7/9/18 now set for
10/1/2018 11:00 AM in Courtroom 3B before Judge Donetta W.
Ambrose. Signed by Judge Donetta W. Ambrose on 6/28/18. Text-
only entry; no PDF will issue. This Text-only entry constitutes the
Order of the Court or Notice on the matter. (ask) (Entered:
06/28/2018)

 

09/27/2018

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MOTION to Continue Sentencing Date by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order) (Greenfield, Stanley) (Entered:
09/27/2018)

 

09/28/2018

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ORDER granting 56 Motion to Continue as to SIMON T. TUSHA
(1). The Sentencing is continued until 1/3/2019 at 10:15 AM in
Courtroom 3B before Judge Donetta W. Ambrose. Signed by Judge
Donetta W. Ambrose on 9/28/18. (sth) (Entered: 09/28/2018)

 

10/22/2018

 

 

 

ORDER as to SIMON T. TUSHA : The Sentencing previously
scheduled for 1/3/2019 at 10:15 a.m. is rescheduled for 1/3/19 at
10:30 a.m. in Courtroom 3B before Judge Donetta W. Ambrose.
Signed by Judge Donetta W. Ambrose on 10/22/18. Text-only entry;
no PDF document will issuc. This text-only entry constitutes the

 

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Order of the Court or Notice on the matter. (cha) (Entered:
10/22/2018)

 

12/12/2018

MOTION to Continue Sentencing Date by SIMON T. TUSHA.
(Attachments: # | Proposed Order) (Greenfield, Stanley) (Entered:
12/12/2018)

 

12/14/2018

60

ORDER as to SIMON T. TUSHA. Government's response to
Defendant's Motion to Continue Sentencing due by 12/17/18. Signed
by Judge Donetta W. Ambrose on 12/14/18. Text-only entry; no
PDF document will issue. This text-only entry constitutes the Order
of the Court or Notice on the matter. (ask) (Entered: 12/14/2018)

 

12/17/2018

RESPONSE to Motion by USA as to SIMON T. TUSHA re 59
MOTION to Continue Sentencing Date (Wilson, James) (Entered:
12/17/2018)

 

12/17/2018

62

ORDER denying 59 Motion to Continue as to SIMON T. TUSHA
(1). Signed by Judge Donetta W. Ambrose on 12/17/18. (cha)
(Entered: 12/17/2018)

 

12/20/2018

MOTION to Continue Sentencing Date by SIMON T. TUSHA.
(Attachments: # 1 Proposed Order) (Greenfield, Stanley) (Entered:
12/20/2018)

 

12/21/2018

64

ORDER granting 63 Motion to Continue as to SIMON T. TUSHA
(1) Sentencing previously set for 1/3/19 now set for 1/10/2019 10:00
AM in Courtroom 3B before Judge Donetta W. Ambrose. Signed by
Judge Donetta W. Ambrose on 12/21/18. Text-only entry; no PDF
will issue. This Text-only entry constitutes the Order of the Court or
Notice on the matter. (ask) (Entered: 12/21/2018)

 

01/04/2019

NOTICE OF ATTORNEY APPEARANCE Shaun E. Sweeney
appearing for USA. (Sweeney, Shaun) (Entered: 01/04/2019)

 

01/09/2019

*SEALED* Sealed Docket Entry as to SIMON T. TUSHA. See
other documents filed at Misc Case Number 19-52. (sdp) (Entered:
01/09/2019)

 

01/09/2019

SENTENCING MEMORANDUM by SIMON T. TUSHA
(Attachments: # 1 Exhibit, # 2 Exhibit) (Greenfield, Stanley)
(Entered: 01/09/2019)

 

01/10/2019

Minute Entry for proceedings held before Judge Donetta W.
Ambrose: Sentencing. Judgment Order to follow. (Court Reporter:
Karen Early) (ask) Modified text on 1/10/2019. (ask) (Entered:
01/10/2019)

 

01/10/2019

 

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JUDGMENT as to SIMON T. TUSHA (1), Count(s) 1, Defendant is
sentenced to a total term of imprisonment of 21 months, not to
commence prior to 4/1/2019. Upon release from imprisonment,
Defendant shali be on supervised release for a term of 3 years with
standard and additional conditions. There is a special assessment of
$100.00. Fine waived. Signed by Judge Donetta W. Ambrose on

 

3/9/2020

 
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O-cv-02143-GLR Document 1-1 Filed 07/17/20 Page 12 of 83

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Page 10 of 11

1/19/19. (ask) (Entered: 01/10/2019)

 

01/10/2019

***Terminated Case. (ept) (Entered: 01/11/2019)

 

03/15/2019

MOTION for Extension of Time fe Report by SIMON T, TUSHA.
(Attachments: # 1 Proposed Order, # 2 Exhibit Document 69 -
Judgement, #3 Exhibit Letter Dated 3/14/19, # 4 Exhibit Letter
Dated 3/6/19) (Greenfield, Stanley) (Entered: 03/15/2019)

 

03/18/2019

ORDER granting 70 Motion for Extension of Time as to SIMON T.
TUSHA (1). Defendant to self-report for incarceration on 5/13/19.
Signed by Judge Donetta W. Ambrose on 3/18/19. (cha) (Entered:
03/18/2019)

 

04/05/2019

Sealed Sentencing Supplement as te SIMON T. TUSHA, filed in
accordance with the Court's Standing Order at Miscellaneous No.
17-447. (ask) (Entered: 04/05/2019)

 

05/01/2019

73

ORDER as to SIMON T. TUSHA: A Telephone Conference is set
for 5/2/2019 at 1:30 PM in Suite 3280 before Judge Donetta W.
Ambrose. Counsel for Defendant to initiate. Signed by Judge
Donetta W. Ambrose on 5/1/19. Text-only entry; no PDF document
will issue. This text-only entry constitutes the Order of the Court or
Notice on the matter. (slh) (Entered: 05/01/2019)

 

05/02/2019

Minute Entry for proceedings held before Judge Donetta W.
Ambrose: Telephone Status Conference as to SIMON T. TUSHA
held on 5/2/2019. (Court Reporter: none) (cha) (Entered:
05/02/2019)

 

05/02/2019

MOTION to Withdraw as Attorney by Shaun E. Sweeney on behalf
of USA. (Attachments: # 1 Proposed Order) (Sweeney, Shaun)
(Entered: 05/02/2019)

 

05/03/2019

76

ORDER granting 75 Motion to Withdraw as Attomey. Shaun E.
Sweeney withdrawn from case as to SIMON T. TUSHA (1). Signed
by Judge Donetta W. Ambrose on 5/3/19. Text-only entry; no PDF
will issue, This Text-only entry constitutes the Order of the Court or
Notice on the matter. (ask) (Entered: 05/03/2019)

 

06/04/2019

Judgment Returned Executed as to SIMON T. TUSHA: Defendant
delivered on 5/13/19 to FCI Loretto. (ept) (Entered: 06/04/2019)

 

12/11/2019

MOTION to Modify SENTENCE by SIMON T. TUSHA.
(Attachments: # 1 Exhibit, #2 Exhibit, # 3 Exhibit, # 4 Exhibit, # §
Exhibit, # 6 Exhibit, #7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10
Exhibit, # 11 Exhibit, #12 Exhibit, #13 Exhibit, # 14 Exhibit, # 15
Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Proposed
Order) (Greenfield, Stanley) (Entered: 12/11/2019)

 

12/12/2019

 

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79

 

ORDER as to SIMON T. TUSHA. Government's Response to
Defendant's Motion for Modification of Sentence due by 12/30/19.
Signed by Judge Donetta W. Ambrose on 12/12/19. Text-only entry;
no PDF document will issue. This text-only entry constitutes the

 

 

3/9/2020
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Order of the Court or Notice on the matter. (ask) (Entered:
12/12/2019)

12/23/2019 80 | MOTION for Extension of Time to File Response/Reply as to 78
MOTION to Modify SENTENCE filed by SIMON T. TUSHA by
USA as to SIMON T. TUSHA. (Attachments: # 1 Proposed Order)
(Wilson, James) (Entered: 12/23/2019)

12/26/2019 81 | ORDER granting 80 Motion to File Response/Reply as to 78
MOTION to Modify SENTENCE filed by SIMON T. TUSHA filed
by USA as to SIMON T. TUSHA (1). Response to Motion due by
1/13/2020. Signed by Judge Donetta W. Ambrose on 12/26/19. (cha)
(Entered: 12/26/2019)

01/13/2020 82 | Second MOTION to Continue Response Deadline by USA as to
SIMON T. TUSHA. (Attachments: # | Proposed Order) (Wilson,
James) (Entered: 01/13/2020)

01/14/2020 83 | ORDER granting 82 Motion to Continue as to SIMON T. TUSHA
(1). Government's Response to Defendant's Motion for Modification
of Sentence is now due by 1/23/2020. Signed by Judge Doneita W.
Ambrose on 1/14/20. (slh) (Entered: 01/14/2020)

01/22/2020 84 | ORDER as to SIMON T. TUSHA: A Telephone Conference is set
for 1/23/2020 at 8:45 AM in Suite 3280 before Judge Donetta W.
Ambrose, Signed by Judge Donetta W. Ambrose on 1/22/20. Text-
only entry; no PDF document will issue. This text-only entry

constitutes the Order of the Court or Notice on the matter. (sth)
(Entered: 01/22/2020)

 

 

 

 

 

 

01/23/2020

IB

Minute Entry for proceedings held before Judge Donetta W.
Ambrose: Telephone Status Conference as to SIMON T. TUSHA
held on 1/23/2020 re pending Motion at écf no. 78 . Government
orally moved for an extension of time to file Response to pending
Motion. After discussion, Judge granted oral motion. Government's
Response to Motion is due 3 days after Government receives a
report from Hillman. (Court Reporter: none) (slh) (Entered:
01/23/2020)

01/23/2020 Terminate Deadlines and Hearings as to SIMON T. TUSHA:
Conference held and hearing memo filed. (slh) (Entered:
01/23/2020)

01/28/2020 86 | NOTICE To The Court Re: Defendant Status by USA as to SIMON
T. TUSHA re 78 MOTION to Modify SENTENCE (Wilson, James)
(Entered: 01/28/2020)

01/30/2020 87 | ORDER denying as moot 78 Motion to Modify as to SIMON T.
TUSHA (1). Signed by Judge Donetta W. Ambrose on 1/30/20.
Text-only entry; no PDF will issue. This Text-only entry constitutes
the Order of the Court or Notice on the matter. (slh) (Entered:
01/30/2020)

 

 

 

 

 

 

 

 

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Case see F 9K 02455 »s-DWA Document 78 Filed 12/11/19 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA }
Respondent ) Criminal No. 16-cr-055
Vv. ) (Case No. 2:16-CR-00055-DWA
) (The Honorable Donetta W. Ambrose}
SIMON TUSHA )
Petitioner.

MOTION PURSUANT TO 18 U.S.C. 3582 FOR MODIFICATION OF
SENTENCE OR IN THE ALTERNATIVE FOR AN ORDER REQUIRING THE BUREAU OF
PRISONS TO PROVIDE IMMEDIATE TREATMENT OF PETITIONER'S
LIFE THREATENING HEALTH CONDITIONS

Comes now, Simon Tusha, Petitioner, who in light of his multiple life-threatening cancer
diagnoses, moves the Court for an Order modifying his sentence, or one requiring the Bureau of
Prisons (BOP) to make immediate arrangements with Petitioner’s current treating physician at
Johns Hopkins Medical Center in Baltimore MD, for treatment of his recurring and new cancers,

in support of which he avers the following:

I
MEDICAL HISTORY TIMELINE

4/11/18 — Surgery for “Radical Prostatectomy” for Prostate Cancer (see Exhibit C letter 3/6/19 &
Exhibit B).

11/27/18 — Biopsy for suspected Melanoma (Se¢ Exhibit A).

 
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:16-cr-00055-DWA Document 78 Filed ais Pag 5 ?

2/21/19 ~ Surgery for Malignant Melanoma (See Exhibit A, 1/7/19 letter, page 5, and Exhibit C.
3/14/19 letter) with subsequent follow-up visits to date of Tusha’s self-surrender to Loretto, FPC.

2/28/19 ~ Colonoscopy (See Exhibit C 5/24/19 letter).

5/6/19 — Second surgery for Malignant Melanoma with other areas reported for suspected

metastasis or spreading to other areas in Tusha’s body. (Exhibit C 5/24/19 letter).
5/13/19 — Self-surrender to Loretto FPC to commence a 21 month sentence for tax evasion.

5/15/19 — Stitches removed by nurse at Loretto, FPC. Tusha requested incontinence pad and
support underwear, which he did not receive until a week or so later. The site where the
malignant melanoma was removed from Tusha’s skull was visibly bleeding until mid-July with

no follow-up care or outside appointments made for his medical care.

5/16/19 — PA Burke reviewed Tusha’s medical records and confirmed his multiple cancers and
critical condition. PA Burke verbally informed him that the institution cannot treat him and that
he would be sent shortly to outside Oncology, Urology and Dermatology physicians for care. By
8/14/19, no appointments had been made and no medical follow-up had occurred despite

acknowledgement of his multiple cancers and medical issues.

§/21/19 — Tusha informed Camp Case Manager, Mr. Bagley, of his medical condition. Mr.

Bagley told him to request “Compassionate Release.”

5/23/19 — Tusha sent an electronic request for “Compassionate Release.” The computer response
said it was sent to RIS (reduction in sentence) coordinator. As of this date, no response had been

received related to the request for Compassionate Release.

5/24/19 — Followed-up with a hard copy request for Compassionate Release with copies of
medical records and medical letters from treating physicians to prove Tusha’s dire medical

condition. To this date, no response had been received. (Exhibit C)
Case 1:20-cv-02143-GLR Document 1-1 Filed 07/17/20 Page 16 of 83
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6/5/19 — Tusha submitted an Administrative Remedy Informal Resolution which was received on
6/6/19.

6/7/19 — Sent Inmate Request to Staff requesting transfer per BOP Policy Statement 7310.4 to
home confinement to have urgent medical follow-up per Johns Hopkins treating physicians
(Tusha has health insurance and agreed to accept full financial responsibility for my future
medical expenses and care). In the alternative, requesting transfer to home confinement per 18
U.S.C. § 3621(b). Third alternative grounds for relief of home confinement per BOP Policy
Statement 7320.01. (See Exhibit D).

6/16/19 — Appeal denial of Inmate Request to Staff to Unit Manager. (See Exhibit E).

7/15/19 — Administrative Remedy Informal Resolution to this denial, with Response on 7/18/19
stating that Tusha would be given relief through other request. (See Exhibit F).

7/21/19 ~ Returned denial to Tusha and asked if he wanted to file a BP-9.

6/8/19 — Letter and Response given by Norman Weidlich, Health Services Administrator which
fully confirms Tusha’s current medical condition (Exhibit G):

“You arrived at FC] Loretto on May 13, 2019, with a history of prostate cancer s/p
prostatectomy, incontinence, melanoma, colorectal polyps, and Asthma. Your Primary Care
Provider (PCP) evaluated you for a history and physical on May 16, 2019, advised you to furnish
information so your medical records can be obtained, and submitted a consultation for an
evaluation by a Dermatologist to follow you for a history of melanoma. You were evaluated by
the Clinical Director (CD) on Jume 7, 2019. The CD submitted consultations for your evaluation
by Oncology due to your personal history of Melanoma/Prostate Cancer and strong family
history of Cancer, and Urology to be followed for recent history of Prostatectomy.”

 
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** Despite the acknowledgement of all of his urgent medical conditions and cancers, as of this
date — 8/14/19 — no follow-up visit had been done and no further communication about any

follow-up or care had been given.

6/20/19 -- Correspondence from Dr. Paul N. Manson, Professor of Surgery and a treating
physician from Johns Hopkins, sent to Tusha at FPC Loretto (Exhibit H):

“This 46 y.o. male has had recent surgery on 2/21/19 and 5/6/19 for malignant melanoma and
had significant lesions which will require close follow-up every three months. In addition, he
recently had a laparoscopic radical prostatectomy for prostate cancer. Each of these conditions

requires close follow-up every three months, and he must be seen frequently and regularly to

 

accomplish the follow-up required.”

 

** Despite the required follow-up that is medically necessary according to Johns Hopkins and
acknowledged by the Health Services Administrator, absolutely no follow-up had occurred over

three months.

7/21/19 ~ BP-9 sent to Warden Moser requesting transfer to home confinement under one of four

possible grounds:

BOP Policy Statement 7320.01 dated 9/6/95 at paragraph 1{C);
BOP Policy Statement 7310.04 dated 12/16/98 at paragraph 9.(4);
18 U.S.C. § 3621(b); and/or

The Compassionate Release under the First Step Act or other policy.

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7/25/19 —~ BP-9 Notice regarding acknowledgement of receipt received. (Exhibit I).

7/26/19 — Oncology & Urology Consults supposedly approved. To date, no consult or other

appointment had been done, No medical consult or information had been provided to Tusha.

 
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8/1/19 — Sick Call request sent due to increasing scrotum pain, Greatly concerned about

metastasis spreading cancer to scrotum or other areas on Tusha’s part.
8/2/19 — PA Bregg prescribed “Cipro” for a potential infection despite no rise in temperature.

8/13/19 — PA Burke discussed with Tusha his situation and confirmed need to see outside
doctors, need for support-compression underwear. Tusha provided his ongoing concerns about
falls, bleeding, pain in testicles, incontinence, need for supplies as well as his concern about no

outside doctor visits. (Exhibit J).

8/13/19 —BP-9 Response received. The response only addressed Compassionate Release and
that the review is awaiting completion. No response is given to items ## 1-3 above on policy

statements and statutory basis for relief. (Exhibit K).

8/14/19 — One vial of blood was drawn.

8/14/19 — Submitted Regional Administrative Remedy Appeal for denial of relief per Request for
Administrative Remedy response received 8/12/19. (Exhibit L).

To date, as of 8/14/19, no medical appointments or consultations have occurred. Tusha states, “I
am a nonviolent offender in prison for the crime of “conspiracy to commit tax evasion” because I
relied on my lawyer and accountant for tax advice. I do not want to die in prison. I would like to
be released to my family and children so I can get urgent cancer follow-up and care. I am not a
danger to anyone nor society. I can also be fully responsible financially for my future medical

care.”

 
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U
BOP APPEAL TIME-LINE

 

1. On January 10, 2019, Petitioner was sentenced to 21 months in prison for violation of
18 U.S.C, 371.

2. On May 23, 2019, Petitioner sought administrative remedy for this issue through the
Warden at FPC Loretto, The Warden did not respond until August 12, 2019, (discussed infra).

3. On July 24, 2019, Petitioner began the administrative remedy process filing a BP-9
with the Warden. (See Exhibit I)

4. Upon denial of the BP-9, Petitioner filed a BP-10 with the Regional Office. Upon no
reply within the time allowed, Petitioner filed a BP-11 with the Central Office in Washington,
DC. No response has been provided as of this writing. (See Exhibits K and L)

5. See Administrative Remedy Informal! Resolution. This sets out that he can request

reduction in sentence. (Exhibit D).

6. Petitioner has suffered from various types of cancer beginning with prostate cancer
diagnosed in 2015, This resulted in radical prostatectomy surgery removing entire prostate and

associated cancer.

7. On September 4, 2019, a biopsy was performed, more cancer was discovered and a
report was sent to FPC Loretto (Exhibit O) on September 9, 2019 (Exhibit P), although Petitioner
was not given results until October 25, 2019. Petitioner was informed by staff that no further
treatment would be provided and that he could seek treatment after returning to halfway house
on or about August 12, 2020.

 
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8. On October 7, 2019, upon review of a PET scan, spots were discovered on Petitioner's
lungs and a treatment protocol was recommended after review of the PET scan results. (See
Exhibit Q)

9. On October 25, 2019, and November 14, 2019, Paul N. Manson, MD, Tusha’s Johns
Hopkins surgeon and treating physician before surrender, wrote FCI Loretta and stressed the
need for treatment of these conditions (Exhibits M and N). Johns Hopkins Medicine Letter dated
11-25-2019 states: "Simon has a history of invasive lesions which have been diagnosed as
atypical lesions, but they are actually regressed invasive melanomas. He should always have
complete excisions of such lesions and evaluation of the excised biopsies by competent

pathologists who are pigmented Jesion experts familiar with his history."

10, The BOP is of the opinion that Petitioner can wait until he is released on August 12,
2020 to obtain treatment for these cancers (Exhibit R). There is no medical protocol that suggests
waiting 10 months to treat growing cancers is an appropriate treatment regimen. In fact, spots on
the lungs which are likely cancerous, are the most serious with respect to early detection and
treatment. This condition along with the confirmed regressed invasive melanomas, require

immediate treatment for Petitioner, to prevent metastasis and potential imminent death,

lil
ARGUMENT

Courts have held that the "administrative appeals process is unavailable to an inmate
when he fails to receive a response or a decision on-his grievances." Small v. Camden County,
728 F.3d 265 (3rd Cir. 2013) Id. at 273. The Court also held that when the Superintendent failed
to respond at the second level of the process, "The administrative process was not available.” Id.
at 273-74. In this case, despite no response from the Warden, Petitioner continued filing up the
chain and completed his BP-11 as though he had received answers. As of this writing, Petitioner
has not received a response from the Central Office, Petitioner takes the position as set forth in

Smalji, supra.

 
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18 USC §3582(c)(1)(A) states:

"(A) the Court, upon motion of the Director of Prisons, or upon motion of the
defendant after the defendant has fully exhausted all administrative rights to appeal a failure of
the Bureau of Prisons to bring a motion on the defendant's behalf or the lapse of 30 days from the

receipt of such request by the Warden of the defendant's facility, whichever is earlier."
The Warden failed to respond within the 30-day time limit,

18 USC §3582(c)(1)() states:
"extraordinary and compelling reasons warrant such a reduction;"

In this case, the extraordinary and compelling reasons are Petitioner's life-threatening
untreated cancers that are now growing and proven by medical experts and tests to exist. Time is
of the essence for Petitioner, and the BOP indifference to Tusha’s medical needs, if not dealt
with, will result in metastasis and imminent death. Granting an Order requiring the BOP to
provide the Petitioner with competent medical care to continue the treatment for his condition as
his Doctor has said that he requires, or otherwise arranging for treatment to be given by Dr.
Manson, either by modifying Tusha’s sentence by releasing him to a halfway house in the
proximity ef John Hopkins, or to home confinement, are the only reasonable alternatives.
Moreover, Tusha’s medical insurance can pay the cost of this treatment, thus relieving the BOP

of that medical expense.
REMEDIES

18 USC §3582 requires that BOP Policy Statements be consistent with the First Step Act.
Pub. L. 115-391,132 Stat 5194,

BOP Policy Statement 7310.04 (12/16/18) appears to directly address the instant issues
before the Court.

 
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“Inmates with medical conditions or disabilities can be considered for community
placement. These inmates are required to assume financial responsibility for their healthcare

while assigned to community programs or home confinement."

See also, U.S. v. Beck, 1:13-CR-186-6, 2019 WL 2716505, (M.D.N.C. June 28, 2019), a
case virtually on point. There the defendant Beck, while serving her sentence was diagnosed with
breast cancer, and the treatment she received from the BOP did not meet the standard of care that
could have been provided. The Court there held that reduction of the defendant’s prison sentence
was in line with the First Step Act 2018, the sentencing guidelines and the Commission’s intent,
as the level of health care the BOP was providing to the defendant to treat her breast cancer was
“abysmal,” and met the requirement of “extraordinary and compelling reasons” warranting a
reduction of her sentence to time served. The care the BOP provided to Ms. Beck included
lengthy delays in ensuring that she was seen by a competent doctor, resulting in the spread of the
disease and a requirement of “a radical mastectomy.” The delays in treatment that she received
resulted in a greater risk of the spread of the disease, and the potential loss of her life. Beck, at 7.
In the current case before the Court, Mr. Tusha has experienced similar delays in receiving
treatment from the BOP, including lengthy delays between appointments to see the Doctor for
treatment of his recurring Melanoma and no prospect of further treatment until June of 2020,

Tusha’s halfway house release date.

BOP Policy Statement 7320.01 (9/6/95) states:

“ordinarily, the length of placement is limited to the last 10 per cent of the inmate's term
to be served or six months, whichever is less. An exception is provided for inmates with
sentences of more than 12 months but not more than 30 months ... These inmates can be
considered for home confinement.” It is thus clear that the BOP has the authority to grant
Tusha’s request, but chooses not to do so, despite its own recognition of Tusha’s metastatic

cancer condition.

 
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CONCLUSION

For all the foregoing reasons, Tusha requests this Court to GRANT the requested relief

and to issue Orders as follows:

(A) Issue an ORDER requiring that the BOP take immediate action and schedule

appointments with Johns Hopkins physicians for treatment of Tusha’s cancers:

(B) Release of Tusha to home confinement or to a halfway house in Baltimore, Maryland,
each of which is within walking distance of the Johns Hopkins Hospital and his treating

physicians;
(C) Expedited review and/or hearing and argument of this Motion for the reasons stated.
Respectfully submitted,

GREENFIELD & KRAUT

/s/ Stanley W. Greenfield, Esq.
Stanley W. Greenfield, Esquire
PA LD. No, 00622

6315 Beacon Street
Pittsburgh, PA 15217

(412) 261-4466

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1:20Q-cv-02 -GLR. Documenti1-1 Filed 07/17/20 Page 24 of 83
CASE EG OF hte Wk Seen ae eG 01/28/20 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Criminal No. 16-55

(18 U.S.C. 371)
SIMON T. TUSHA
GOVERNMENT'S NOTICE TO THE COURT RE: DEFENDANT STATUS

AND NOW comes the United States by its counsel Scott W. Brady, United States
Attorney for the Western District of Pennsylvania and James R. Wilson, Assistant
United States Attorney in and for said district and files the following Notice to the
Court and in support of the same sets forth the following:

1. Defendant was sentenced pursuant to his guilty plea to charges that he
conspired to defraud the United States on January 10, 2019, At that time he was
sentenced to a period of 21 months incarceration, a term of 3 years supervised release, a
fine of $962,100 and a $100 Special Assessment;

2. Defendant self reported to FCI Loretto to begin serving his sentence on
May 13, 2019;

3. On December 11, 2019, Defendant filed a Motion to Modify Sentence or In
the Alternative for an Order Requiring the Bureau of Prisons (BOP) to Provide
Immediate Treatment of Petitioneér’s Life Threatening Health Conditions (Doc. No. 78);

4. Defendant’s Petition at Doc. 78 consists principally of a chronology and

 
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may fairly be divided into two general categories of information; first, he advises the
Court regarding a number of steps taken/requests made directly through channels of
the Bureau of Prisons for Compassionate Release and/or forms of relief that are left to
the sound discretion of the BOP. Those matters are unresolved. Second he petitions
this Court for matters within the Court's discretion regarding the scheduling of medical
appointments with physicians that Defendant insists he must see, or for release to
Home Confinement to expedite medical care.

5. As to the second part of Defendant's Petition at Doc. No. 78, generally
seeking the Court’s intervention to assure certain specific medical the following should
be noted for the Court's consideration:

a, Government counsel and defense counsel have been in regular contact
since the filing of Doc. 78;

b. Government counsel has interacted with personnel at FCI Loretto that
are responsible for Defendant’s-medical treatment to seek to address
the validity of defendant's various claims and to assure that Defendant
promptly receives all necessary medical attention;

¢. Defendant's principal concern related to potentially cancerous lesions
on his skin in a variety of locations;

d. Defendant was seen at the Hillman Cancer Center on January 23, 2020,

at which time he underwent a thorough examination relative to a

 
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Case 2:16-cr-00055-DWA Document 86 Filed 01/28/20 Page 3 of 3

variety of assertions concerning cancerous or potentially cancerous
areas that were deemed to require prompt attention;

e. Government Counsel received emailed copies of reports concerning
the treatment Defendant received at Hillman on January 23 as well as
documents prescribing surgical treatment for the worrisome lesions;

f. Thatsurgery is now scheduled for February 5, 2020;

6. This pleading constitutes the report which the government promised to
the Court at the time of a telephone status conference on January 23, 2020, and the
government respectfully avers that said report suffices as an appropriate resolution of
the matters raised by the filling of the defendant's Petition at Doc. 78.

Respectfully Submitted,

SCOTT W. BRADY
United States Attorney

s/lames R. Wilson
JAMES R. WILSON

Assistant United States Attorney
PA ID No. 27648

 
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' Ty ‘2 3-GLR D t1-1 Filed 07/17/20 Page 27 of 83
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NAGNOSIS: (gxe) 12/06/2018 @ 04:57 pm

} LOWER BACK (BIOPSY): SEVERELY ATYPICAL COMPOUND
RATION WITH REGRESSIVE FEATURES, FOCALLY EXTENDING
‘),

case. There are areas of junctional confluency,

1d SOx10 stains, concerning for melanoma in situ.
appears nevoid and follows a follicle, as ina

is. However, there is

e

the VVG stain (elastic fibers focally pushed down

and a regressed invasive melanoma cannot be

d area measures 0.8mm in maximum depth. The lateral
fé, but the the deep margin is focally involved. A

ye margins is recommended for complete eradication
was reviewed at the Dermatopathology quality

Dr, N. Kim was notified of the findings by Dr. Erdag

i.

 
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regularly shaped red brown macule

nted, The margin is inked, and the specimen is
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Case 1:20-cv-02143-GLR Document 1-1 Filed 07/17/20 Page 49 of 83

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SIMON TERRANCE TUSHA )
)
Petitioner, )
) Criminal No. 16-055
Vv. ) Case No. 2:16-cr-00055-DWA
- } The Honorable Donetta W. Ambrose
UNITED STATES OF AMERICA, )
Respondent.
ORDER
AND NOW, to-wit, this day of , 2019, upon

 

consideration of Petitioner Simon Tusha’s Motion, it is hereby ORDERED, that said
Motion is hereby GRANTED, and that:

 

Donetta W. Ambrose
United States District Judge

 
Casp 1:29-Cy-02143-GLR Document 1-1 Filed 07/17/20 Page 73 of 83
ase 2:16-cr-00055-DWA Document 80 Filed 12/23/19 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Criminal No. 16-55
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SIMON T. TUSHA

GOVERNMENT’S MOTION FOR EXTENSION OF TIME

AND NOW comes the United States of America by its attorneys, Scott W. Brady, United
States Attorney for the Western District of Pennsylvania and James R. Wilson, Assistant United
States Attorney in and for said district, and files the following Motion for Extension of Time and
in support thereof sets forth the following:

l, Defendant Tusha has filed a Motion Pursuant to 18 USC §3582 to Modify Sentence
and seeking other relief relative to concern regarding a combination of health related matters set
forth in the Motion and 18 Exhibits (Doc. No. 78);

2. This Honorable Court followed Defendant’s Motion with an order requiring the
government to respond by December 30, 2019 (Doc. No. 79);

3. Government counsel has been in contact with personnel at FC] Loretto where.
Defendant is currently located and has been apprised that a significant amount of medical records
exist that will need to be reviewed in order to respond appropriately to Defendant’s assertions:

4, Government counsel contacted Defense Counsel, Mr. Greenfield, on December 23,
2019, regarding the possibility of an extension of time. Attorney Greenfield indicated that there
was no objection to the government's request for 14 additional days within which to respond to

the defendant's motion.

 
Case 1:20-cv-02143-GLR Document 1-1 Filed 07/17/20 _ Page 74 of 83
Case 2:16-cr-00055-DWA Document 80 Filed 12/23/19 Page 2 of 3

WHEREFORE, the United States respectfully requests that this Honorable Court grant the
government and extension of time of 14 additional days, from December 30, 2019, to January 13,

2020 within which to respond to Defendant’s Motion to Modify Sentence.

Respectfully Submitted,

SCOTT W. BRADY
United States Attorney

s/James R. Wilson

JAMES R. WILSON

Assistant United States Attorney
412.894.7453

PA ID No. 27648

 
Case 1:20-¢y-0 143-GLR, Document 1-1 Filed 07/17/20 Page 75 of 83
2ase 2:16-cr-00055-DWA Document 80 Filed 12/23/19 Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA }
) Criminal No. 16-55
v. )
)
SIMON T. TUSHA }
ORDER OF COURT
AND NOW, this day of , 2019 it is hereby ORDERED, that the

Government’s Motion for Extension of Time is hereby GRANTED, and the government’s
responsive pleading to the defendant’s motion docketed at No. 78 shall be filed on or before

January 13, 2020.

BY THE COURT:

 

Honorable Donetla W. Ambrose
United States District Judge

ee: All counsel of record

 
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‘Case 2:16-cr-00055-DWA Document 80-1 Filed 12/23/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
) Criminal No. 16-85
v. )
)
SIMON T. TUSHA }
ORDER OF COURT
AND NOW, this day of , 2019 it is hereby ORDERED, that the

Government’s Motion for Extension of Time is tiereby GRANTED, and the government’s
responsive pleading to the defendant’s motion docketed at No. 78 shall be filed on or before
January 13, 2020.

BY THE COURT:

 

Honorable Donetta W. Ambrose
United States District Judge

ec: All counsel of record

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )

) Criminal No. 16-55
v. ) .

| )
SIMON T. TUSHA )

ORDER OF COURT
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responsive pleading to the deféndant’s motion docketed at No. 78 shall be filed on or before
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BY THECOURT:  ~ '

Honorable Donetta W. Ambrose
United Statés District Judge

 

cco: All counsel of record

 
Case 1:20-cv-02143-GLR Document 1-1 Filed 07/17/20 Page 78 of 83
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
) Criminai No. 16-55
Vv. )
)
SIMON T. TUSHA )
GOVERNMENT'S UNOPPOSED MOTION FOR CONTINUANCE

AND NOW comes the United States by its counsel Scott W. Brady, United States
Attorney for the Western District of Pennsylvania and James R. Wilson, Assistant United
States Attorney in and. for said district and files the following Unopposed Motion for
Continuance and in support of the same sets forth the following:

1. On December 11, 2019, Defendant filed a Motion to Modify Sentence or In
the Alternative for an Order Requiring the Bureau of Prisons (BOP) to Provide Immediate
Treatment of Petitioner's Life Threatening Health Conditions (Doc. No. 78);

2. This Honorable Court followed Defendant’s Motion with an order
requiring the government to respond by December 30, 2019 (Doc. No. 79);

3. The government sought an extension of time within which to respond to
the array of medical facts alleged by Defendant (Doc. No. 80) and the Court granted an
extension to January 13, 2020, (Doc. No. 81);

4. On January 13, 2020, Counsel for the Defendant, Stanley Greenfield,

contacted counsel for the government and advised that he, Attorney Greenfield, had just

 
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recently received and reviewed an email concerning his client's medical condition and
treatment. Attorney Greenfield read the email to counsel for the government inasmuch
as the contents thereof had a direct bearing on the matters that are at issue rélative to the
defendant’s medical conditions and thé treatment he is, or isn’t receiving;

5. Counsel for the government acknowledged that the assertions contained in
the email were material to the matters at issue but indicated to Attorney Greenfield that
this new information would require additional time for the government to properly
respond.

6. Attorney Greenfield indicated that in light of the new allegations he would
have no objection to an extension of 10 days within which the government could respond
to his original petition at Doc. No. 78.

WHEREFORE, the United States respectfully requests that this Honorable Court
grant the United States an additional extension of time of 10 days until January 23, 2020,

within which to respond to Defendant's petition.

Respectfully Submitted,
SCOTT W. BRADY
United States Attorney

s/lames R, Wilson
JAMES R. WILSON

Assistant United States Attorney
PA ID No. 27648

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES.OF AMERICA )
) Criminal No.16-55
v. )
|
SIMON T. TUSHA )
ORDER OF COURT
AND NOW, this day of January, 2020 it is hereby ORDERED, that the
Government's Motion for Extension of Time is hereby GRANTED, and the government's
responsive pleading to the defendant's motion docketed at No. 78 shall be filed on or
before January 23, 2020.

BY THE COURT:

 

Honorable Donetta W. Ambrose
United States District Judge

cc: All counsel of record

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Criminal No.16-55

SIMON T. TUSHA

ORDER OF COURT
AND NOW, this day of January, 2020 it is hereby ORDERED, that the
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responsive pleading to the defendant's motion docketed at No. 78 shall be filed on or
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BY THE COURT:

 

Honorable Donetta W. Ambrose
United States District Judge

cc: All counsel of record
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
} Criminal No.16-55

Vv. j
)
SEMON T. TUSHA }

ORDER OF COURT

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BY THE COURT:
Obbatdte) A Caliente

Honorable Donetta W. Ambrose
United States District Judge

 

cc: All counsel of record

 
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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA

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UNITED STATES OF AMERICA, y
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vs. }  Criminaf No. bAS
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Gian Tush )
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Defendant.

  

TYPE OF HEARING: + :

 

 

 

 

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Appear for USA Appear for Defendant

Hearing begun: Vea | W ¢ g: aS BAM, Court Reporter: a

Hearing concluded: ob @ AMY fu Clerk: Caghény Halihill /Barol -s
Anne Kurnvee / Susan Schupansky

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